Docu~in Envelope ID: 31 7A0580-3560-4444-BADO-A1 FAF5OGF8AO
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;Z011 MONSANTO TECHNOLOGY/STEWARDSHIP AGREEMENT                                                                                                     (Limited Use License)
         PLEASE MAIL THE SIGNED 2011 MONSANTO TECH NOLOGY/STEWARDSHIP AGREEMENT TO: Grower Licensing, Monsanto, 622 Emerson Road, Suite 150, St. Louis, MO634

                                                                                                               GRWE
                                                                                                                 INOMTO

Pleasecomplete this sectionw ith your business information. Tosignthis Monsanto Technology/Stewardlship Agreement("Agreement") you mustbe the operator/grower forall fields thatwill growplants fromSeed(ascdefined         below).You represent
that you havefull authority to anddo herebybind to this Agreement   yourself, all entities forwhich you obtain Seed,all indlividuals andentities havingan ownmership
                                                                                                                                                                 interest in any entities forwhich you obtain Seed,andthat MonsantoCompanyhas
not barredany of those individuals or entities fromobtaining this limited-use license. Yournamemustbe filled in and mustmatchthe signature below.ThisAgreementbecomeseffective if andwIhenMonsanto issues the Growera license number
from Monsanto's headquarters in St. Louis,Missouri. Monsanto doesnot authorize seeddealers or seedretailers to issuea license of any kindfor MonsantoTechnologies.
GROWER                                                                                                                       FARM BUSINESS                                Form Number                       ES000244
Michael Ryan                                                              SSN# 7168                                            RYAN BROTHERS INC
                                                                                                                               2914 180TH AVE
2914 180TH AVE
                                                                                                                               RYAN                                                                        IA            52330-8555
RYAN                                                                         IA            52330                             SEED SUPPLIER
PHONE      5639209273                                                     FAX                                                  DAIRYLAND SEED CO INC




                                                                                                                                                                                                                                    ]
EMAIL      ryanbros@yousq.net                                                                                                  2626263080                               KEWASKUM                           WI            53040


FOR MONSANTO OFFICE USE ONLY: Lic. #: 1766048                                                Batch #: 987654321                           Date: 2/24/2011[

  This Monsanto Tech nology/Stewardsh ip Agreement is entered into between you                                              4. GROWER AGREES:
  ("Grower") and Monsanto Company ("Monsanto") and consists of the terms on                                                    *To accept and continue the obligations of this Monsanto Technology/
  this page and on the reverse side of this page.                                                                                Stewardship Agreement on any new land purchased or leased by
  This Monsanto Tech nology/Stewardship Agreement grants Grower a limited license                                                Grower that has Seed planted on it by a previous owner or possessor
  to use Roundup Ready' soybeans, Genuity® Roundup Ready 2 Yield' soybeans,                                                      of the land; and to notify in writing purchasers or lessees of land owned
  YieldlGard® Corn Borer corn, Roundup Ready® Corn 2 corn, YieldlGard® Corn Borer with                                            by Grower that has Seed planted on it that the Monsanto Technology
   Roundup Ready® Corn 2 corn, YieldlGard VT Triple® corn, YieldlGard VT Rootworm/RR2®                                           is subject to this Monsanto Technology/Stewardshi p Agreement and
  corn, Genuity® VT Triple PROTM corn, Genuity® SmartStaxTM corn, Roundup Readly®                                                they must have or obtain their own Monsanto Technology/Stewardship
  cotton, Genuity® Bollgard 11®cotton, Bollgard 11®with Roundup Readly® cotton, Genuity®                                         Agreement.
   Roundup Readly® Flex cotton, Genuity® Bollgard 11®with Roundup Readly® Flex cotton,                                         *To read and follow the applicable sections of the Technology Use Guide
  Vistive® low linolenic soybeans, Genuity® Roundup Readly® sugarbeets, Genuity®                                                  ("TUG") and the Insect Resistance Ma nageme nt/G rower Guide
   Roundup Readly® Canola, Genuity?® Roundup Readly® alfalfa, Monsanto patented                                                   ("IRM/Grower Guide") which are incorporated into and are a part of this
  germplasm and Monsanto Plant Variety Protection rights ("Monsanto Technologies").                                              Agreement, for specific requirements relating to the terms of this Agreement,
  Seed containing Monsanto Technologies are referred to herein as ("Seed"). This                                                 and to abide by and be bound by the terms of the TUG and the IRM/Grower
  Agreement also contains Grower's stewardship responsibilities and requirements                                                 Guide as they may be amended from time to time.
  associated with the use of Seed and Monsanto Technologies.                                                                   *To implement an Insect Resistance Management ("IRM") program as
   1. GOVERNING LAW: This Agreement and the parties' relationship shall                                                          specified in the applicable Genuity® Bollgard 11® cotton and YieldlGard®o
      be governed by the laws of the State of Missouri and the United States                                                     corn sections of the most recent IRM/Grower Guide and to cooperate
      (without regard to the choice of law rules).                                                                               and comply with these IRM programs.
  2. BINDING ARBITRATION FOR COTTON-RELATED CLAIMS MADE BY GROWER:                                                             *To acquire Seed containing these Monsanto Technologies only from a seed
       Any claim or action made or asserted by a cotton Grower (or any other                                                     company with technology license(s) from Monsanto for the applicable
        person claiming an interest in the Grower's cotton crop) against Monsanto                                                Monsanto Technology(ies) or from a licensed company's dealer authorized
        or any seller of cotton Seed containing Monsanto Technology arising out                                                  to sell such licensed Seed.
        of and/or in connection with this Agreement or the sale or performance of                                              *To acquire Seed from authorized seed companies (or their authorized
       the cotton Seed containing Monsanto Technology other than claims arising                                                  dealers) with the applicable license(s).
        under the patent laws of the United States must be resolved by binding
        arbitration. The parties acknowledge that the transaction involves interstate                                            *To   use Seed containing Monsanto Technologies solely for planting a single
        commerce. The parties agree that arbitration shall be conducted pursuant to the                                            commercial crop.
        provisions of the Federal Arbitration Act, 9 U.S.C. Sec 1 et seq. and administered                                       *Not to save or clean any crop produced from Seed for planting, not to
        under the Commercial Dispute Resolution Procedures established by the                                                      supply Seed produced from Seed to anyone for planting, not to plant seed
       American Arbitration Association ("AAA"). The term "seller" as used throughout                                              for production other than for Monsanto or a Monsanto licensed seed
       this Agreement refers to all parties involved in the production, development,                                               company under a seed production contract.
        distribution, and/or sale of the Seed containing Monsanto Technology.                                                    - Not to transfer any Seed containing patented Monsanto Technologies
        In the event that a claim is not amicably resolved within 30 days of Monsanto's                                            to any other person or entity for planting.
        receipt of the Grower's notice required pursuant to this Agreement any party
        may initiate arbitration. The arbitration shall be heard in the capital city of                                          - To plant and/or clean Seed for Seed production, if and only if, Grower has
       the state of Grower's residence or in any other place as the parties decide by                                              entered into a valid, written Seed production agreement with a Seed company
        mutual agreement. When a demand for arbitration is filed by a party, the Grower                                            that is licensed by Monsanto to produce Seed. Grower must either physically
       and Monsanto/sellers shall each immediately pay one half of the AAA filing fee.                                             deliver to that licensed Seed Company or must sell for non-seed purposes
        In addition, Grower and Monsanto/sellers shall each pay one half of AAA's                                                  or use for non-seed purposes all of the Seed produced pursuant to a Seed
       administrative and arbitrator fees as those fees are incurred. The arbitrator(s)                                             production agreement.
       shall have the power to apportion the ultimate responsibility for all AMA fees                                            *Grower may not plant and may not transfer to others for planting
       in the final award. The arbitration proceedings and results are to remain                                                   any Seed that the Grower has produced containing patented
       confidential and are not to be disclosed without the written agreement                                                      Monsanto Technologies for crop breeding, research, or generation
       of all parties, except to the extent necessary to effectuate the decision                                                   of herbicide registration data. Grower may not conduct research
       or award of the arbitrator(s) or as otherwise required by law.                                                              on Grower's crop produced from Seed other than to make
  3. FORUM SELECTION FOR NON-COTTON-RELATED CLAIMS MADE BY GROWER                                                                  agronomic comparisons and conduct yield testing for Grower's
     AND ALL OTHER CLAIMS:                                                                                                         own use.
       THE PARTIES CONSENT TO THE SOLE AND EXCLUSIVE JURISDICTION AND VENUE                                                      *To direct crops produced from Seed to appropriate markets as necessary.
       OF THE U.S. DISTRICT COURT FOR THE EASTERN DISTRICT OF MISSOURI, EASTERN                                                    Any grain or material produced from Seed can only be exported to,
        DIVISION, AND THE CIRCUIT COURT OF THE COUNTY OF ST. LOUIS, MISSOURI,                                                      or used, processed or sold in countries where all necessary regulatory
        (ANY LAWSUIT MUST BE FILED IN ST. LOUIS, MO) FOR ALL CLAIMS AND DISPUTES                                                   approvals have been granted. It is a violation of national and international
       ARISING OUT OF OR CONNECTED INANY WAY WITH THIS AGREEMENTAND/OR                                                              law to move material containing biotech traits across boundaries into
       THE USE OF THE SEED OR THE MONSANTO TECHNOLOGIES, EXCEPT FOR COTTON-                                                         nations where import is not permitted.
        RELATED CLAIMS MADE BY GROWER. THE PARTIES WAIVE ANY OBJECTION TO                                                        *To lawfully plant Genuity® Roundup Readly® alfalfa; and if growing
       VENUE IN THE EASTERN DIVISION OF THE U.S. DISTRICT COURT FOR THE EASTERN                                                    Genuity® Roundup Readly® alfalfa, to direct any product produced
        DISTRICT OF MISSOURI, INCLUDING THOSE BASED, INWHOLE OR IN PART, ON THE                                                    from a Genuity® Roundup Readly® alfalfa seed or crop, including hay
        DIVISIONAL VENUE LOCAL RULE(S) OF THE U.S. DISTRICT COURT FOR THE EASTERN                                                  and hay products, only to those countries where regulatory approvals
        DISTRICT OF MISSOURI.                                                                                                       have been granted, and to grow and manage Genuity® Roundup Readly®
       THIS AGREEMENT CONTAINS A BINDING ARBITRATION PROVISION FOR COTTON                                                          alfalfa in accordance with the TUG.
       RELATED CLAIMS PURSUANT TO THE PROVISIONS OF THE FEDERAL ARBITRATION
       ACT, 9 U.S.C. §1 ETSEQ., WHICH MAY BE ENFORCED BY THE PARTIES.
                DocuSigned by



                      22060AF1, 408..                                                              ATTACHMENT 1
Name            Mi chael         Ryan                                                                                                          Date
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     "To use on Roundup Ready' or Genuity' Roundup Ready' crops only a                         *Insect Resistance Management: When planting any YieldGard'brand corn
      labeled Roundup' agricultural herbicide or other authorized non-selective                  products, Genuity' brand corn products or Genuity' Bollgard 11ocotton products,
      herbicide which could not be used in the absence of the Roundup Readly                     Grower must implement an IRM program according to the size and distance
      gene (see TUG for details on authorized non-selective products). Use of any                guidelines specified in the IRM/Grower Guide, including any supplemental
      selective herbicide labeled for the same crop without the Roundup Readly                   amendments. Grower may lose Grower's limited use license to use these
      gene is not restricted by this Agreement. MONSANTO DOES NOT MAKE ANY                       products if Grower fails to follow the IRM program required by this Agreement.
      REPRESENTATIONS, WARRANTIES OR RECOMMENDATIONS CONCERNING THE                            * Crop Stewardship & Specialty Crops: Refer to the section on Coexistence and
      USE OF PRODUCTS MANUFACTURED OR MARKETED BY OTHER COMPANIES                                Identity Preservation in the TUG for applicable information on crop stewardship
      WHICH ARE LABELED FOR USE IN ROUNDUP READYo CROP(S). MONSANTO                              and considerations for production of identity preserved crops.
      SPECIFICALLY DISCLAIMS ALL RESPONSIBILITY' FOR THE USE OF THESE                          - Corn Trait Performance: All hybrids containing Monsanto corn traits (YieldlGardl
      PRODUCTS IN ROUNDUP READYo OR GENUITYo ROUNDUP READYo CROP(S).                             Corn Borer corn, YieldlGardl Rootworm corn, YieldlGardl Plus corn, and Roundup
      ALL QUESTIONS AND COMPLAINTS ARISING FROM THE USE OF PRODUCTS                               Readly Corn 2 corn) have been screened for the presence of the appropriate
      MANUFACTURED OR MARKETED BY OTHER COMPANIES SHOULD BE DIRECTED                             protein and have passed that screening prior to commercial sale. YieldlGardl
                                TO THOE COMPNIES.Rootworm                                                    corn and YieldlGardl Plus corn hybrids have achieved industry
    * To pay all applicable fees due to Monsanto that are a part of, associated with             leading success rates in excess of 99%. Asmall number of these hybrids may
      or collected with the Seed purchase price or that are invoiced for the seed.               infrequently demonstrate variable levels of performance in fields and not meet
      If Grower fails to pay Monsanto for cotton related Monsanto Technologies,                  grower expectations.
      Grower agrees to pay Monsanto default charges at the rate of 14% per annum
      (or the maximum allowed by law whichever is less) plus Monsanto's reasonable         7. SPECIAL LIMITATIONS ON PRODUCTS CONTAINING MON 863 (le. YieldGardo
      attorneys' fees, court costs and all other costs of collection.                         Rootworm corn, YieldGardo Plus corn, YieldGardo Rootworm with Roundup Readjo
    * To provide Monsanto copies of any records, receipts, or other documents that            Corn 2 corn, YieldGardo Plus with Roundup Readjo Corn 2 corn):
      could be relevant to Grower's performance of this Agreement, including but not          Monsanto's U.S. Environmental Protection Agency (EPA) registration for the
      limited to, Summary Acreage History Report, Form 578 (producer print), Farm              MON 863 event expires on September 30, 2010. However, on 8/25/2010,
      and Tract Detail Listing and corresponding aerial photographs, Risk Management           EPA published a proposed order in the Federal Register that would permit limited
      Agency claim documentation, and dealer/retailer invoices for seed and chemical          sales, distribution, and planting of any existing stocks of seed containing the
      transactions. Such records shall be produced following Monsanto's actual (or             MON 863 event through July 1, 2011. The EPA Order, which has an effective date
      attempted) oral communication with Grower and not later than seven (7) days             of 9/30/2010, specifies that existing stocks of seed containing the MON 863
      after the date of a written request from Monsanto.                                       event can only be planted byJuly 1, 2011, for production of a corn crop. Therefore,
                             "Toonsato
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                                          nd alowMonant
                                          an alow
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                                              ts eprsenativs aces tolan famedof
                                                                                                        EPA otherwise limits, any sale, distribution, or planting of existing stocks
                                                                                                  seed containingthe MON 863 event is prohibited afteriuly 1, 2011.
      by or at the direction of Grower (including refuge areas) and bins, wagons,
      or seed storage containers used or under the control or direction of Grower,         8. GENERAL TERMS:
      for purposes of examining and taking samples of crops, crop residue or seeds            Grower's rights may not be transferred to anyone else without the written
      located therein. Such inspection, examination or sampling shall be available            consent of Monsanto. If Grower's rights are transferred with Monsanto's consent
      to Monsanto and its representatives only after Monsanto's actual (or attempted)         or by operation of law, this Agreement is binding on the person or entity
      oral communication with Grower and after at least seven (7) days prior written           receiving the transferred rights. If any provision of this Agreement is determined
      request by Monsanto to Grower.                                                          to be void or unenforceable, the remaining provisions shall remain in full force
    * To allow Monsanto to obtain Grower's internet service provider ("ISP") records          and effect.
      to validate Grower's electronic signature, if applicable.                               Grower acknowledges that Grower has received a copy of Monsanto's TUG
                           5                                                                  and the IRM/Grower Guide. To obtain additional copies of the TUG and/or
  5GROWER RECEIVES FROM MONSANTO COMPANY:                                                     the IRM/Grower Guide, contact Monsanto at 1-800-768-6387 or go to
    * A limited use license to purchase and to plant Seed in the United States                www.monsanto.com. Once effective, this Agreement will remain in effect
      except in any state or county where the products do not have all the                     until either the Grower or Monsanto choose to terminate the Agreement, as
      necessary approvals and to apply Roundupo agricultural herbicides and                    provided in Section 9 below. Information regarding new and existing Monsanto
      other authorized non-selective herbicides over the top of Roundup Readly                Technologies, including any additions or deletions to the U.S. patents licensed
      or Genuityo Roundup Readly crops. Check with your local Monsanto                         under this agreement, and any new terms will be mailed to you each year.
      representative if you have questions about the approval status in your state.           Continuing use of Monsanto Technologies after receipt of any new terms
      Monsanto retains ownership of the Monsanto Technologies including the                   constitutes Grower's agreement to be bound by the new terms.
      genes (for example, the Roundup Readly gene) and the gene technologies.
      Grower receives the right to use the Monsanto Technologies subject                   9. TERMINATION:
      to the conditions specified in this Agreement.                                          Grower may choose to terminate this Agreement in its entirety effective
    * Monsanto Technologies are protected under U.S. patent law. Monsanto licenses            immediately by delivering written notice to Monsanto. Monsanto may choose
      the Grower under applicable U.S. patents listed below (other than the Dow               to terminate this Agreement in whole or in part by delivering written notice to
      AgroSciences Patent Rights), to use Monsanto Technologies subject to the                Grower. Grower must deliver the notice of termination to Grower Licensing,
      conditions listed in this Agreement. Dow AgroSciences LLC and Agrigenetics,              Monsanto, 622 Emerson Road, Suite 150, St. Louis, MO 63141. If this Agreement
      Inc. (collectively "Dow AgroSciences") licenses the Grower under its applicable         is terminated pursuant to such a notice, Grower's responsibilities and the other
      U.S. patents listed below (the "Dow AgroScience Patent Rights") to use Dow              terms herein shall survive (such as but not limited to Grower's obligation to use
      AgroSciences' Event TC1507 and Event DAS 59122-7 to the extent either is                Seed for a single commercial crop) as to Seed previously purchased by the Grower.
      present in any SmartStax Seed being obtained by Grower pursuant to this                  In the event Grower violates the terms of this Agreement, then the Grower's
      Agreement, Monsanto being authorized to act on Dow AgroSciences' behalf                  rights under this Agreement shall automatically terminate. However, Grower's
      for this Agreement, subject to the conditions listed in this Agreement. These            responsibilities and the other terms herein shall survive as to all Seed purchased
      licenses do not authorize Grower to plant Seed in the United States that has            or used by the Grower (such as but not limited to Grower's obligation to use
      been purchased in another country or plant Seed in another country that has             Seed for a single commercial crop, Grower's obligation to pay Monsanto for its
      been purchased in the United States. Grower is not authorized to transfer               attorneys' fees, costs and other expenses incurred in enforcing its rights under
      Seed to anyone outside of the U.S.                                                      this Agreement, and Grower's agreement to the choice of law and forum selection
    * Enrollment for participation in Roundup Rewardso program.                                provisions contained herein). Further, Grower shall not be entitled to obtain a
    * A limited use license to prepare and apply on glyph osate-to le rant soybean,           future limited-use license from Monsanto unless Monsanto provides Grower with
      cotton, alfalfa, or canola crops (or have others prepare and apply) tank mixes of,       specific written notice expressly recognizing the prior breach and prior termination
      or sequentially apply (or have others sequentially apply), Roundupo agricultural        of the limited-use license and expressly granting and/or reissuing the limited-
      herbicides or other glyphosate herbicides labeled for use on those crops with            use license previously obtained (and terminated) pursuant to this Agreement.
      quizalofop, clethodim, sethoxydim, fluazifop, and/or fenoxaprop to control              Grower expressly acknowledges that Grower's submission of a new Monsanto
      volunteer Roundup Readly Corn 2 corn in Grower's crops for the 2011 growing             Technology Stewardship Agreement and Monsanto's issuance of a new license
      season. However, neither Grower nor a third party may utilize any type of                number shall not satisfy the specific written notice reference above and that any
      co-pack or premix of glyphosate plus one or more of the above-identified active         such action shall have no legal effect. IfGrower is found byany court to have
      ingredients in the preparation of a tank mix.                                            breached any term of this Agreement and/or to have infringed one or more of the
                                                                                               U.S. patents listed below, Grower agrees that, among other things, Monsanto and
6. GROWER UNDERSTANDS:                                                                         Dow Agrosciences, as appropriate, shall be entitled to preliminary and permanent
     *Monsanto Company is a member of Excellence Through Stewardshipo (ETS).                  injunctions enjoining Grower and any individual and/or entity acting on Grower's
      Monsanto products are commercialized in accordance with ETS Product                      behalf or in concert therewith from making, using, selling, or offering Seed for sale.
      Launch Stewardship Guidance, and in compliance with Monsanto's Policy                   Additionally, Grower agrees that any such finding of infringement by Grower shall
      for Commercialization of Biotech nology-Derived Plant Products in Commodity             entitle Monsanto and Dow Agrosciences, as appropriate, to patent infringement
      Crops. These products have been approved for import into key export markets             damages to the full extent authorized by 35 U.S.C. § 271 et. seq. Grower will
      with functioning regulatory systems. Any crop or material produced from these           also be liable for all breach of contract damages. If Grower is found by any court
      products can only be exported to, or used, processed or sold in countries               to have infringed one or more of the U.S. patents listed below or otherwise to
      where all necessary regulatory approvals have been granted. It is a violation of         have breached this Agreement, Grower agrees to pay Monsanto and the licensed
      national and international law to move material containing biotech traits across        Monsanto Technology provider(s) and Dow AgroSciences, as appropriate,
      boundaries into nations where import is not permitted. Growers should talk              their attorneys' fees and costs and other expenses incurred in enforcing
      to their grain handler or product purchaser to confirm their buying position             rights under this Agreement including, but not limited to, expenses
      for these products. Excellence Through Stewardshipo is a registered trademark           incurred in the investigation of the breach of this Agreement and/oj.. S
      of Biotechnology Industry Organization.                                        Pg2of3infringement of one or more of the U.S. patents listed herein.
                                                                          ATTACHMENT 1
Docu~lgn Envelope ID: 31 7ACSBO-3580-4444-BADO-A1 FAFSOBFBAO
                         CASE 0:21-cv-00433-MJD-TNL                                                                            Doc. 36-1 Filed 03/08/21 Page 3 of 3
     Grower accepts the terms of the following NOTICE REQUIREMENT, LIMITED                                                                     by Monsanto or the seed company's authorized dealers or distributors.
     WARRANTY AND DISCLAIMER OF WARRANTY AND EXCLUSIVE LIMITED REMEDY                                                                          EXCEPT FOR THE EXPRESS WARRANTIES INTHE LIMITED WARRANTY SET FORTH
      by signing this Agreement and/or opening a bag of Seed. If Grower does                                                                   ABOVE, MONSANTO MAKES NO OTHER WARRANTIES OFANY KIND, AND
      not agree to be bound by the conditions of purchase or use, Grower agrees                                                                DISCLAIMS ALL OTHER WARRANTIES, WHETHER ORAL OR WRITTEN, EXPRESS
     to return the unopened bags to Growers seed dealer.                                                                                       OR IMPLIED INCLUDING THE IMPLIED WARRANTIES OF MERCHANTABILITY
 10. NOTICE REQUIREMENT:                                                                                                                       AND FITNESS FOR PARTICULAR PURPOSE.
     As a condition precedent to Grower or any other person with an interest                                                               12. GROWER'S EXCLUSIVE LIMITED REMEDY:
      in Grower's crop asserting any claim, action, or dispute against Monsanto                                                                THE EXCLUSIVE REMEDY OF THE GROWER AND THE LIMIT OF THE LIABILITY OF
      and/or any seller of Seed regarding performance or non-performance of                                                                    MONSANTO OR ANY SELLER FOR ANY AND ALL LOSSES, INJURY OR DAMAGES
      Monsanto Technologies or Seed, Grower must provide Monsanto a written,                                                                   RESULTING FROM THE USE OR HANDLING OF SEED (INCLUDING CLAIMS BASED
      prompt, and timely notice (regarding performance or non-performance                                                                      INCONTRACT, NEGLIGENCE, PRODUCT LIABILITY, STRICT LIABILITY, TORT, OR
      of the Monsanto Technologies) and to the seller of any Seed (regarding                                                                   OTHERWISE) SHALL BE THE PRICE PAID BY THE GROWER FOR THE QUANTITY
      performance or non-performance of the Seed) within sufficient time to allow                                                              OF THE SEED INVOLVED OR, AT THE ELECTION OF MONSANTO OR THE SEED
      an in-field inspection of the crop(s) about which any controversy, claim,                                                                SELLER, THE REPLACEMENT OF THE SEED. INNO EVENT SHALL MONSANTO OR
      action, or dispute is being asserted. The notice will be timely only if it is                                                            ANY SELLER BE LIABLE FOR ANY INCIDENTAL, CONSEQUENTIAL, SPECIAL,
      delivered 15 days or less after the Grower first observes the issue(s)                                                                   OR PUNITIVE DAMAGES.
      regarding performance or non-performance of the Monsanto Technology                                                                      Thank you for choosing our advanced technologies. We look forward to working
      and/or the Seed. The notice shall include a statement setting forth                                                                      with you in the future. If you have any questions regarding the Monsanto
     the nature of the claim, name of the Monsanto Technology, and Seed                                                                        Technologies or this license, please call the Monsanto Customer Relations
      hybrid or variety. Grower must deliver the notice to Grower Licensing,                                                                   Center at: 1-800-768-6387.
      Monsanto, 622 Emerson Road, Suite 150, St. Louis, MO 63141.
                          11. NDIMIED
                                   ISCAIMR
                                         ARRNTY
                                              OFWARANTES:13.                                                                                      PLEASE MAIL THE SIGNED 2011 MONSANTO TECH NOLOGY/STEWARDSHI P
      Monsanto warrants that the Monsanto Technologies licensed hereunder                                                                          GreEMN TO:sigonat
     will perform as set forth in the TUG when used in accordance with directions.                                                                622 Emerson Road, Suite 150
     This warranty applies only to Monsanto Technologies contained in planting                                                                    St. Louis, MO 63141
      Seed that has been purchased from Monsanto and seed companies licensed


14.UNITED STATES PATENTS:                                      0                                                                                      TM
     The licensed U.S. patents include: for Bo[[gard cotton - 5,322,938; 5,352,605; 5,530,196; 6,943,282; for Genity            Bo[[gard 110cotton - 5,322,938; 5,338,544; 5,352,605; 5,362,865; 5,530,196; 5,659,122;
                                                                                       0                                     0
      5,717,084; 5,728,925; 6,489,542; 6,943,282; 7,064,249; 7,223,907; for Genuity Bo[[gard 110with Roundup Ready        0
                                                                                                                                cotton - 5,322,938; 5,338,544; 0
                                                                                                                                                                  5,352,605; 5,362,865; 5,378,619; 5,530,196; 5,659,122;
      5,717,084; 5,728,925; 6,051,753; 6,083,878; 6,489,542; 6,943,282; 7,064,249; 7,223,907; RE39247; for Genuity Bo[[gard 110with Roundup Ready Flex Cotton - 5,322,938; 5,338,544; 5,352,605; 5,362,865;
                                                                                                                                                                                                              0
      5,530,196; 5,659,122; 5,717,084; 5,728,925; 6,051,753; 6,083,878; 6,489,542; 6,660,911; 6,943,282; 6,949,696; 7,064,249; 7,112,725; 7,141,722; 7,223,907; 7,381,861; RE39247; for Bo[[gard with Roundup
            0                                                                                                                                        0                      0
     Ready cotton - 5,322,938; 5,352,605; 5,378,619; 5,530,196; 5,717,084; 5,728,925; 6,051,753; 6,083,878; 6,943,282; RE39247; for Bo[[gard            with Roundup  Ready   Flex Cotton  - 5,322,938; 5,352,605; 5,530,196;
                                                                                                                                                  0                                                        0
      5,717,084; 5,728,925; 6,051,753; 6,083,878; 6,660,911; 6,943,282; 6,949,696; 7,112,725; 7,141,722; 7,381,861; RE39247; for Mavera high           0
                                                                                                                                                          value corn with [ysine - 7,157,281; for Genuity Roundup Ready 2
     Yield' Soybeans - 5,717,084; 5,728,925; 6,051,753;    6,660,911;   6,949,696; 7,141,722; 7,608,761; 7,632,985; RE39247; for Roundup Ready Alfalfa - 5,362,865; 5,378,619; 5,659,122; 5,717,084; 5,728,925;
                                                 0                 0
     6,051,753;
            0
                 7,566,817; RE39247; for Genuity Roundup Ready Canola - 5,378,619; 5,463,175; 5,717,084; 5,728,925;          0
                                                                                                                                 5,750,871; 6,051,753; 6,083,878; 7,306,909; 7,718,373; RE38825; RE39247; for Roundup
     Ready Corn - 5,554,798; 5,641,876; 5,717,084; 5,728,925; 6,025,545; 6,040,497; 6,083,878; for 0Roundup Ready Corn 2 - 5,322,938; 5,352,605; 5,424,412; 5,554,798; 5,593,874; 5,641,876; 5,717,084;
      5,728,925; 5,859,347; 6,025,545; 6,083,878; 6,825,400; 7,582,434; RE39247; for Roundup Ready Cotton - 5,352,605; 5,378,619; 5,530,196; 5,717,084; 5,728,925; 6,051,753; 6,083,878; RE39247; for
              0               0                                                                                                                                                          0
     Genuity Roundup Ready Flex Cotton - 5,717,084; 5,728,925; 6,051,753; 6,083,878; 6,660,911; 6,949,696; 7,112,725; 7,141,722; 7,381,861; RE39247; for Roundup Ready Soybeans - 5,352,605; 5,530,196;
                                                 0               0                                                                                                                 0
      5,717,084; 5,728,925; RE39247; for Genuity Roundup Ready   0
                                                                     Sugarbeets - 5,378,619; 5,717,084;
                                                                                                     0
                                                                                                           5,728,925; 6,051,753; 6,083,878; 7,335,816; RE39247; for YielcdGard Corn Borer corn - 5,352,605; 5,424,412;
      5,484,956; 5,593,874; 5,859,347; 6,180,774; for YielcdGard Corn Borer 0
                                                                                with Roundup Ready Corn - 5,322,938;
                                                                                                               0
                                                                                                                             5,352,605; 5,424,412; 5,484,956; 5,554,798; 5,593,874; 5,641,876; 5,717,084; 5,728,925;
      5,859,347; 6,025,545; 6,083,878; 6,180,774; RE39247; for YielcdGard Corn Borer with Roundup Ready Corn            2 - 5,322,938; 5,352,605; 5,424,412; 5,484,956; 5,554,798; 5,593,874; 5,641,876; 5,717,084;
                                                                                                                  0
      5,728,925; 5,859,347;
                  0
                             6,025,545; 6,083,878; 6,180,774; 6,825,400; 7,582,434; RE39247; for YielcdGard Rootworm corn - 5,352,605; 5,484,956; 6,063,597;             0
                                                                                                                                                                              6,501,009; 7,408,096; 07,544,862; 7,705,216;
     for YielcdGard Plus corn - 5,352,605; 5,424,412; 5,484,956; 5,593,874; 5,859,347; 6,063,597; 6,180,774; 6,501,009; 7,408, 096; 7,544,862; for Yie[dGard Plus with Roundup Ready Corn 2 - 5,3 22,938S;
      5,352,605; 5,424,412; 05,484,956; 5,554,798; 5,593,874;0
                                                                5,641,876;  5,717,084;  5,728,925;  5,859,347;   6,025,545;    6,063,597; 6,083,878;   6,180,774; 6,501,009;   6,825,400; 7,408,096; 7,554,862; 7,582,434;
     RE39247; for YielcdGard Rootworm with Roundup Ready Corn 2 - 5,322,938; 5,352,605; 5,424,412; 5,484,956; 5,554,798; 5,593,874; 5,641,876; 5,717,084; 5,728,925; 5,859,347; 6,025,545; 6,063,597;
                                                                                                                        TM
     6,083,878; 6,501,009; 6,825,400; 7,408,096; 7,544,862; 7,582,434; 7,705,216; 0RE39247; for YielcdGard
                                                                                                         TM
                                                                                                                 VT PRO - 5,322,938; 5,352,605; 5,378,619; 5,424,412; 6,051,753; 6,489,542; 6,645,497; 6,713,063;
     6,962,705; 7,064,249; 7,070,982; 7,250,501; 7,304,206; 7,618,942; for Genuity VT Double PRO - 5,322,938; 5,352,605; 5,378,619; 5,424,412; 5,554,798; 5,593,874; 5,641,876; 5,717,084; 5,728,925;
      5,859,347;
         0
                 6,025,545; 6,051,753;  6,083,878;  6,489,542; 6,645,497;  6,713,063;  6,82 5,400; 6,962,705;  7,064,249;   7,070,982; 7,2 50,501; 7,304,206; 7,582,434; 7,61 8,942;   0
                                                                                                                                                                                         RE39247; for Yie[dGard VT Rootworm/
     RR2 - 5,322,938; 5,352,605; 5,424,412; 5,554,798; 5,641,876; 5,717,084; 5,728,925; 6,025,545; 6,063,597; 6,083,878; 7,544,862; RE39247; for YielcdGardVT Triple - 5,322,938; 5,352,605; 5,424,412;
                                                                                                                                                                                0                 TM
      5,484,956; 5,554,798; 5,593,874; 5,641,876; 5,717,084; 5,728,925; 5,859,347; 6,025,545; 6,063,597; 6,083,878; 6,480,774; 7,544,862; RE39247; for Genuity VT Triple PRO - 5,322,938; 5,3 52,60 5;
      5,378,619; 5,424,412; 5,554,798; 5,641,876; 5,717,084; 5,728,925; 6,025,545; 6,051,753; 6,063,597; 6,083,878;           6,489,542;  6,645,497; 6.713;063; 6,962,705; 7,064,249; 7,070,982; 7,250,501; 7,304,206;
                                                                                                                      0             T
     7,544,862; 7,618,942; RE39247; for tank mix - 6,239,072 ; for Drought - 5,641,876; 7,786,353; for Genuity SmartStaX -                5,322,938; 5,352,605; 5,378,619; 5,424,412; 5,550,318; 5,554,798; 5,641,876;
      5,717,084; 5,728,925; 6,025,545; 6,051,753; 6,063,597; 6,083,878; 6,489,542; 6,645,497; 6,713,063; 6,962,705; 7,064,249; 7,070,982; 7,112,665; 7,250,501; 7,304,206; 7,544,862; 7,618,942; RE39247.
                                                        0              T
     Dow AgroScience Patent Rights for Genuity SmartStaX . - 5,510,474; 6,083,499; 6,127,480; 6,218,188; 6,340,593; 6,548,291; 6,624,145; 6,893,872; 6,900,371; 6,943,282.


Genuity' RoundupReady Alfalfaseed is currently not for saleor distribution.The movement and useof Genuity' RoundupReadyAlfalfa forageis subjectto a USDAAdministrativeOrder available at http:/AA         .aphis.usda.gov/brs/pdf/RRA
                                                                                                                                                                                                                                    A8fina.pdt.

ELL.products may not yet be registered in all states.Checkwith your Monsantorepresentative for the registration status in your state.
Roundup Rewards® applies only to Roundup'branded and other agricultural herbicidesspecified by Monsanto.Programdetails referencedin this publication are subject to change and should be verified by visiting RoundupRewards.comor checking with your local
Monsanto dealer.

Growers may utlize the natural refuge option for varieties containing the Bollgard 110trait in the following states: AL,AR,FLFGA,KS,KY,LA,MID,MS,MO,NC, OK,SC,TN,VA,and most of Texas(excluding theTexascounties of Brewster,Crane,Crockett,Culberson,
El Paso,Hudspeth,Jeff Davis,Loving,Pecos,Presidio,Reeves,Terrell,ValVerde,Ward and Winkler).The natural refugeoption does not apply to Bollgard 11cotton grown in areaswhere pink bollworm is a pest, including CA,AZ, NM, andthe abovelisted Texascounties.It also
remains the casethat Bollgard® and Bollgard 11cotton cannor be planted south of Highway 60 in Florida,and that Bollgard cotton cannorbe planted in certain other countiesin the Texaspanhandle. Referto the Technology UseGuide and IRM/GrowerGuidefor additional
information regardingBollgard I1,Bollgard, naturalrefuge and EPA-mandatedgeographical restrictionson the planting of .t cotton.

ALWAYS READ AND FOLLOW PESTICIDE LABEL DIRECTIONS. Ir is a violation of federal law to promote or sellan unregistered pesticide.Fortank mixtures,the applicablelabeling for each product must be inthe possessionof the user at the time of application.
Follow applicable use instructions,including application rates,precautions and restrictions of each product used in the tank mixture. Monsantohas nottested all tank mix product formulations for compatibility or performanceother than specificallylisted by brand name.
Always predetermine the compatibility oftank mixturesby mixing small proportional quantities in advance.

IMPORTANT: Grain Marketing and Seed Availability: Ir is a violation of national and international law to move material containing biotech traits acrossboundaries into nations w~hereimport is not permitted. Consult w~ithyour seedrepresentative for current
stewardship information.
Roundup Ready®crops contain genesthat confertoleranceto glyphosate,the active ingredientin Roundup' brand agricultural herbicides.Roundup' brand agricultural herbicideswill killcropsthat arenot tolerant to glyphosate. Bollgard, Bollgard IT,Genuity, Roundup,
Roundup Ready,RoundupReady2 Yield',RoundupRewards,SmartStax-tVistive, VTDouble PRO-,VTTriple PRO-,YieldGard,YieldGardVT, YieldGardVT Rootworm/RR2,and YieldGardVTTriple' aretradermarksof MonsantoTechnology LLIC.                  All other trademarksarethe property
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